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                             IN THE UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

      UNITED STATES OF AMERICA                       §
                                                     §
      v.                                             §      CASE NUMBER 4:20-CR-00339
                                                     §
      JERRY OTIS LEWIS (6)                           §


                 ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S
                      REPORT AND FINDING DEFENDANT GUILTY

            The Court referred this matter to the United States Magistrate Judge for administration of

     a guilty plea under Federal Rule of Criminal Procedure 11. The Magistrate Judge conducted a

     hearing in the form and manner prescribed by Rule 11 and issued Findings of Fact and

     Recommendation on Guilty Plea. The Magistrate Judge recommended that the Court accept

     Defendant’s guilty plea and adjudge Defendant guilty on Count One of the Indictment.

            The parties have not objected to the Magistrate Judge’s findings.

            The Court hereby ADOPTS the Findings of Fact and Recommendation on Guilty Plea of

     the United States Magistrate Judge. The court also accepts Defendant’s plea but defers acceptance

.    of the plea agreement until after review of the presentence report.

            In accordance with Defendant’s guilty plea, the Court finds Defendant Jerry Otis Lewis

     GUILTY of Count One of the Indictment, charging a violation of Title 21 U.S.C. § 846 -

     Conspiracy to Possess with the Intent to Distribute Cocaine.

           SIGNED this 10th day of March, 2025.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
